
Per curiam.
Respondent Frank E. Stevenson, Jr., has petitioned for voluntary surrender of his license to practice law in the State of Georgia. His petition is based upon his admissions of fact and conduct in violation of Standard No. 66 of State Bar of Georgia Rule 4-102.
Respondent, in his petition, requests that this Court accept his voluntary surrender of his license to practice law.
In light of the above and in view of the recommendation of the Review Panel of the State Bar Disciplinary Board that Respondent be allowed to surrender his license to practice law, it is directed that he be allowed to surrender his license. Before any reinstatement petition is granted, he must comply with the reinstatement rules of the State Bar of Georgia in effect at such time.
Application for voluntary surrender of license is granted.

All the Justices concur.

